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Pelker, Catherine (CRM)

From:                Michael Hassard <Michael@torekeland.com>
Sent:                Tuesday, February 20, 2024 11:34 PM
To:                  Pelker, Catherine (CRM); Jeff M. Fischbach, ABFE
Cc:                  Pearlman, Jeffrey (CRM); Brown, Christopher (USADC); Tor Ekeland
Subject:             Re: [EXTERNAL] Sterlingov Password Document


Alden,

Thanks for the heads up. We tracked it down. Looks like that drive is in evidence storage up in New York. Is there a way
we can get another copy for Jeff while here in DC? We can provide a hard drive.

Thanks,
Mike


From: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Sent: Tuesday, February 20, 2024 11:11:38 PM
To: Jeff M. Fischbach, ABFE                      >
Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC)
<Christopher.Brown6@usdoj.gov>; Tor Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Subject: RE: [EXTERNAL] Sterlingov Password Document

Mr. Fischbach,
I believe you are referencing the drives from IRS. Defense counsel separately sent a hard drive to FBI to receive the
Romania Server discovery; I believe the hard drive containing the information was shipped back to defense counsel via
FedEx in September 2022.

Regards,

C. Alden Pelker
National Cryptocurrency Enforcement Team
Computer Crime & Intellectual Property Section
Criminal Division
U.S. Department of Justice
Catherine.Pelker@usdoj.gov



From: Jeff M. Fischbach, ABFE
Sent: Tuesday, February 20, 2024 7:24 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>;
Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Subject: Re: [EXTERNAL] Sterlingov Password Document

It doesn't seem to be. All forensic images appear to match the inventory of evidence found during the arrest. I'm hoping
to have a look at it before any testimony is proffered. Hopefully, that will keep the Court happy with all of us.



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Jeff Michael Fischbach
Forensic Technologist ■ Litigation Consultant ■ Adviser ■ Lecturer ■ Public Speaker
SecondWave, Inc., Los Angeles, CA
http://linqapp.com/jeff fischbach

On Tue, Feb 20, 2024, 7:18 PM Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov> wrote:
 Hello Mr. Fischbach,
 I believe that would be on the drive shipped from the FBI.

 Regards,

 C. Alden Pelker
 National Cryptocurrency Enforcement Team
 Computer Crime & Intellectual Property Section
 U.S. Department of Justice
 Catherine.Pelker@usdoj.gov


 From: Jeff M. Fischbach, ABFE
 Sent: Tuesday, February 20, 2024 7:02:38 PM
 To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
 Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>;
 Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
 Subject: Re: [EXTERNAL] Sterlingov Password Document

 Hi Catherine! I was hoping you could point me in the right direction on the "To The Moon" VPN server forensic image
 files. They don't seem to be on the media I have. Do you know if that is something that was previously produced to the
 Defense, on a particular piece of media?

 Thanks as always!

 Jeff Michael Fischbach
 Forensic Technologist ■ Litigation Consultant ■ Adviser ■ Lecturer ■ Public Speaker
 SecondWave, Inc., Los Angeles, CA
 http://linqapp.com/jeff fischbach

 On Mon, Feb 12, 2024, 10:37 PM Jeff M. Fischbach, ABFE                                   wrote:

  Thank you so much for that info. Let's circle‐back on this tomorrow. I just want to make sure Counsel has a complete
  set of Discovery.

  And, Jeff is fine. I suspect we'll all know each other for a while. I'm happy to say that the first AUSA I ever got to really
  know in California, decades back, is now on the bench in Alaska. Deservedly so. He was a spectacular AUSA. And one
  of the first Judges I ever trained, in Oregon, is now the Sr. Judge, and retiring. For as long as I've been at this, I couldn't
  keep doing it if I didn't come to deeply respect people sitting at opposite tables.

  Good night. See you all tomorrow.


  On Mon, Feb 12, 2024, 10:07 PM Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov> wrote:

   Mr. Fischbach,
                                                                2
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Yes, the .csv that the government will admit at trial is an export of the .psafe file.



C. Alden Pelker
Deputy Director, National Cryptocurrency Enforcement Team
Computer Crime & Intellectual Property Section
Criminal Division
U.S. Department of Justice
Catherine.Pelker@usdoj.gov




From: Jeff M. Fischbach, ABFE
Sent: Monday, February 12, 2024 10:03 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC)
<CBROWN8@usa.doj.gov>; tor@torekeland.com; Michael@torekeland.com
Subject: Re: [EXTERNAL] Sterlingov Password Document



OK, I believe I may have found a copy under a completely different name:
export_hq1.csv

Unfortunately, without source/context it's difficult to know for sure if this is the same file content as, "hq1.psafe3".
But, the name you gave me tonight is what lead me to find this export.

Are you able to confirm that the CSV is an export from the .psafe3?



On Mon, Feb 12, 2024, 9:43 PM Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov> wrote:

 Hello Mr. Fischbach,

 The image file is the third file from the bottom of Ms. Daun’s certification, attached, to which the defense
 stipulated.



 Regards,



 C. Alden Pelker
 Deputy Director, National Cryptocurrency Enforcement Team
 Computer Crime & Intellectual Property Section
 Criminal Division
 U.S. Department of Justice

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             Case 1:21-cr-00399-RDM Document 266-4 Filed 03/11/24 Page 4 of 5

Catherine.Pelker@usdoj.gov




From: Jeff M. Fischbach, ABFE
Sent: Monday, February 12, 2024 9:29 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC)
<CBROWN8@usa.doj.gov>; Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard
<Michael@torekeland.com>
Subject: Re: [EXTERNAL] Sterlingov Password Document



That sounds like it would be found inside a forensic image file, as opposed to outside.



If it helps, here are the root and secondary folders on that drive. Doesn that provide any clues?



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SecondWave, Inc., Los Angeles, CA
http://linqapp.com/jeff fischbach



On Mon, Feb 12, 2024, 9:19 PM Jeff M. Fischbach, ABFE                                wrote:

 If you're still up for a bit, I'll have a look and let you know.



 On Mon, Feb 12, 2024, 9:14 PM Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov> wrote:

  Hello Mr. Fischbach,

  I will confirm this with our expert, but below is the information that I have regarding the file:



  The file name is hq1.psafe3.

  It was retrieved from the SanDisk Cruzer Blade 8GB USB (IRS 1000275898_2_A_USB3; FBI 1B9_13)

  The file path is home/heavydist/Documents/hq1.psafe3

  The password is “                ”
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Regards,



C. Alden Pelker
Deputy Director, National Cryptocurrency Enforcement Team
Computer Crime & Intellectual Property Section
Criminal Division
U.S. Department of Justice
Catherine.Pelker@usdoj.gov




From: Jeff M. Fischbach, ABFE
Sent: Monday, February 12, 2024 8:49 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>; Pearlman, Jeffrey (CRM)
<Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>
Cc: Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Subject: [EXTERNAL] Sterlingov Password Document



Good evening! Sorry for the late evening email. I wanted to readh‐out and see if any of you could help identify the
location of the "password document" ("psafe") on the encrypted HD. Possibly Michael misheard the name of the
file, but I have been unable to find anything by that name, outside any device image files.



Any direction would be greatly appreciated.



Best,



Jeff Michael Fischbach
Forensic Technologist ■ Litigation Consultant ■ Adviser ■ Lecturer ■ Public Speaker
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http://linqapp.com/jeff fischbach




                                                     5
